Case No. 1:14-cv-02830-RM-CBS Document 1-13 filed 10/17/14 USDC Colorado pg 1 of 3
  Case 3:14-cv-05358-FLW-LHG Document 3-6 Filed 09/02/14 Page 1 of 3 PageID: 105




                              EXHIBIT F




                              EXHIBIT F
Case No. 1:14-cv-02830-RM-CBS Document 1-13 filed 10/17/14 USDC Colorado pg 2 of 3
  Case 3:14-cv-05358-FLW-LHG Document 3-6 Filed 09/02/14 Page 2 of 3 PageID: 106



                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY


                                                    Civil Action No. 3:14-CV-05358
   Channel Methods Partners, LLC,
   a New Jersey limited liability company

                             Plaintiff,
                                                    PROPOSED ORDER
   v.

   Pharmatech, Inc.,
   a Colorado corporation

                             Defendant.


         This matter having been brought before the Court on Pharmatech, Inc.’s

   Motion to Dismiss, or in the Alternative, for a More Definite Statement and to

   Transfer Venue (“Motion”), and the Court having considered the matter and good

   cause appearing, the Court hereby orders that said motion is GRANTED;


                  IT IS SO ORDERED that the Complaint is dismissed for lack of

                   jurisdiction.

                  IT IS SO ORDERED that Count Two is dismissed as duplicative

                   and failure to state a claim.

                  IT IS SO ORDERED that Count Three is dismissed pursuant to the

                   economic loss rule and a failure to state a claim.
Case No. 1:14-cv-02830-RM-CBS Document 1-13 filed 10/17/14 USDC Colorado pg 3 of 3
  Case 3:14-cv-05358-FLW-LHG Document 3-6 Filed 09/02/14 Page 3 of 3 PageID: 107



                IT IS SO ORDERED that Count Four is dismissed pursuant to the

                 economic loss rule and a failure to state a claim.

                IT IS SO ORDERED that Count Five is dismissed as duplicative

                 and failure to state a claim.

                IT IS SO ORDERED that Count Six is dismissed as duplicative

                 and failure to state a claim.

                IT IS SO ORDERED that Plaintiff’s request for damages in excess

                 of fees paid in connection with the Contract is stricken.

                IT IS SO ORDERED that the Plaintiff shall submit a more definite

                 statement with respect to Count Four.

                IT IS SO ORDERED that venue is transferred to the United States

                 District Court for the District of Colorado.

                IT IS SO ORDERED that Defendant shall be awarded its

                 reasonable attorney fees incurred in the defense of the Complaint.

         Dated this ___ day of _______________, 2014.


                    ________________________
                    Hon. Freda L. Wolfson




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